Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 1 of 18

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT

LATASHA BROWN, : NOTICE OF REMOVAL
: REMOVED FROM:
v. : JUDICIAL DISTRICT OF FAIRFIELD
: AT BRIDGEPORT
THE HOME DEPOT U.S.A., INC.
C.A. No. 19-105
NOTICE OF REMOVAL

 

Defendant Home Depot U.S.A., Inc. (“Home Depot”), by and through its undersigned
counsel, hereby files its Notice of Removal of this action (the “Action”) from the Superior Court
for the Judicial District of Fairfield at Bridgeport, State of Connecticut, to the United States
District Court for the District of Connecticut.

Home Depot appears for the purpose of removal only and for no other purpose, reserves
all defenses and rights available to it, and states as follows:

1. On or about June 6, 2019, Plaintiff Latasha Brown (“Plaintiff”) commenced the
Action in the Superior Court for the Judicial District of Fairfield at Bridgeport, State of
Connecticut, as Civil Action No. FBT-CV19-6086789-S, in which she claims to have slipped
and fallen on a slippery substance at the Home Depot store in Bridgeport, CT on or around
December 19, 2017.

2. As a result of the slip and fall, the Plaintiff claims to have suffered “serious,
painful and permanent injuries” including “disc bulge at C3-4...foraminal narrowing at C6-7,
cervical radiculopathy, sprain/strain of cervical spine, reduced range of motion of cervical spine,
disc bulges at L3-4 and L4-5, lumbar radiculopathy, sprain/strain of lumber spine, reduced range
of motion in lumbar spine, thoracic sprain/strain, right arm injury, right arm numbness and

tingling, right wrist sprain, right elbow injury, bilateral leg and foot injuries and pain, bilateral
Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 2 of 18

numbness and tingling, muscle spasms, sleep disturbance, headaches and sprains, contusions and
bruises of her head, body and limb.”

3. Plaintiff further claims that, as a result of these alleged injuries, she “has been
unable and never will be able to get about as a well person.”

4. On or about June 3, 2019, Plaintiff served a copy of the Summons and Complaint
upon the registered agent for Home Depot.

5. Pursuant to 28 U.S.C. § 1446(a), a copy of all process, pleadings, and orders
served upon Home Depot in the Action is attached as Exhibit 1.

6. The Plaintiff is a Connecticut resident living at 3 Rock Ridge Circle in

Bridgeport, CT.

7. Home Depot is a foreign corporation with a principal place of business in Atlanta,
Georgia.
8. Before filing suit, Plaintiff claimed to have incurred $195,000 in damages as a

result of the incident at issue.

9. Pursuant to 28 U.S.C. § 1332, this Court has original jurisdiction over the Action,
which is removable to this Court pursuant to the provisions of 28 U.S.C. § 1441 et seg., because
the amount in controversy exceeds $75,000, exclusive of interests and costs, and there is
complete diversity between the Plaintiff, who is a resident of Connecticut, and Home Depot,
which has its principal place of business in Georgia.

10. | Home Depot has not yet filed a pleading in response to the Complaint and no
orders have been issued in this Action.

11. Pursuant to 28 U.S.C. § 1446(d), Home Depot promptly will file a copy of this

Notice of Removal with the Clerk for the Superior Court for the Judicial District of Fairfield at
Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 3 of 18

Bridgeport, State of Connecticut, and will serve a copy of the same on counsel for Plaintiff and
all other counselors of record.

WHEREFORE, Home Depot respectfully removes the Action now pending in the
Superior Court for the Judicial District of Fairfield at Bridgeport, State of Connecticut, as Civil
Action No. FBT-CV19-6086789-S to the United States District Court for the District of

Connecticut.

Defendant,
HOME DEPOT U.S.A., INC.,
By its Attorney,

/s/ Caroline B. Lapish
Caroline B. Lapish, Juris No. 429909
ADLER POLLOCK & SHEEHAN P.C.
175 Federal Street, 10th Floor
Boston, Massachusetts 02110
Tel. (617) 482-0600
Fax. (617) 482-0604
Email: clapish@apslaw.com

CERTIFICATE OF SERVICE

I hereby certify that on July 3, 2019, I caused a true copy of the foregoing document to be
served by regular mail upon the following counsel of record:

Michael J. Rosnick, Esq.

Miller, Rosnick, D’Amico, August & Butler, P.C.
1087 Broad Street

Bridgeport, CT 06604

/s/ Caroline B. Lapish
Caroline B. Lapish
Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 4 of 18

EXHIBIT 1

961249.v1
7/3/2019

   
 
   

te of Connecticut Judicial Branch

uperior Court E-Filing

E-Services Home

E-Services inbox (3068)
Superior Court E-Filing
CivilFamily
Housing
Small Claims

E-File a New Gase
E-File on an
Existing Case
By Docket Number
By Party Name
List My Cases
Court Events
By Date
By Juris Number
By Docket Number
Short Calendars
Markings Entry
Markings History
My Short Calendars
By Court Location @
Calendar Notices @
My Shopping Cart (6)
My E-Filed ems
Pending
Foreclosure Sales @

Search By Property Address

Case 3:19-cv-01052-VAB 9 Genbateib BIC PASCROI9S3/19

Page 5 of 18

x

 

Attorney/Firm: CAROLINE BOUSCAREN LAPISH (429909) E-Mail: clapish@apslaw.com Lcgout

@ FBT-CV19-6086789-S BROWN, LATASHA v. HOME DEPOT, U.S.A., INC.
Prefix: FBS Case Type: T03 File Date: 06/06/2019 Return Date: 07/02/2019
Case Detail |Notices |History [Scheduled Court Dates (Help Manual

To receive an email when there is activity on this case, click here.&

Select Case Activity: | E-File a Pleading or Motion v | Go |

Information updated as of: 07/03/2019
Case Information

T03 - Torts - Defective Premises - Private - Other
Bridgeport JD
No List Type

Case Type:
Court Location:
List Type:

Trial List Claim:

Last Action Date: 07/03/2019 (The “last action date” is the date the information was entered in the system)

 

Disposition Information
Disposition Date:
Disposition:
Judge or Magistrate:

 

| Party & Appearance Information |

 

Party ae Party Party Type
Party Category
P-01 LATASHA BROWN Plaintiff Person
Attorney: & MILLER ROSNICK D'AMICO AUGUST & BUTLER P (038116) File Date: 06/06/2019
1087 BROAD STREET
BRIDGEPORT, CT 06604
D-01 HOME DEPOT, U.S.A., INC. Defendant Firm or
Attorney: @ CAROLINE BOUSCAREN LAPISH (429909) File Date: 07/03/2019 Corporation

Tnew 175 FEDERAL ST #1000

BOSTON, MA 02110

Viewing Documents on Civil, Housing and Smail Claims Cases:
If there is an @ in front of the docket number at the top of this page, then the file is electronic (paperless).
» Documents, court orders and judicial notices in electronic (paperless) civil, housing and small claims cases with a return date on or after
January 1, 2014 are available publicly over the internet.* For more information on what you can view in all cases, view the Electronic

Access to Court Documents Quick Card.

e For civil cases filed prior to 2014, court orders and judicial notices that are electronic are available publicly over the internet. Orders can
be viewed by selecting the link to the order from the list below. Notices can be viewed by clicking the Notices tab above and selecting the
link.*

e Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any judicial district courthouse during
normal business hours.*

e Pleadings or other documents that are not electronic (paperless) can be viewed only during normal business hours at the Clerk’s Office in
the Judicial District where the case is located.*

« An Affidavit of Debt is not available publicly over the internet on small claims cases filed before October 16, 2017.*

*Any documents protected by law Or by court order that are Not open to the public cannot be viewed by the public online And can only be viewed
in person at the clerk’s office where the file is located by those authorized by law or court order to see them.

 

 

 

 

 

 

 

 

 

 

 

 

 

Motions / Pleadings / Documents / Case Status

Ent . Filed as
No File Date By. Description Arguable

06/06/2019 P SUMMONS EF

06/06/2019 P COMPLAINT

07/03/2019 D APPEARANCE EF Tnew

Appearance
100.30 06/06/2019 P RETURN OF SERVICE & No
Scheduled Court Dates as of 07/02/2019 |
https://efile.eservices.jud.ct.gov/CaseDetail/AttyCaseDetail.aspx? CRN=4233137 1/2
7/3/2019 Case 3:19-cv-01052-VAB GeebeeriBI-CAaeesee9ee/19 Page 6 of 18

FBT-CV19-6086789-S - BROWN, LATASHA v. HOME DEPOT, U.S.A., INC.

 

# Date Time Event Description Status

No Events Scheduled

 

 

 

 

 

Judicial ADR events may be heard in a court that is different from the court where the case is filed. To check location information
about an ADR event, select the Notices tab on the top of the case detail page.

Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as scheduled court events on this
page. The date displayed on this page is the date of the calendar.

All matters on a family support magistrate calendar are presumed ready to go forward.

The status of a Short Calendar matter is not displayed because it is determined by markings made by the parties as required by
the calendar notices and the civilé? or family&# standing orders. Markings made electronically can be viewed by those who have
electronic access through the Markings History link on the Civil/Family Menu in E-Services. Markings made by telephone can only
be obtained through the clerk's office. If more than one motion is on a single short calendar, the calendar will be listed once on this
page. You can see more information on matters appearing on Short Calendars and Family Support Magistrate Calendars by going
to the Civil/Family Case Look-Up page and Short Calendars By Juris Number or By Court Location.

Periodic changes to terminology that do not affect the status of the case may be made.
This list does not constitute or replace official notice of scheduled court events.

Disclaimer: For civil and family cases statewide, case information can be seen on this website for a period of time, from one year to
a maximum period of ten years, after the disposition date. If the Connecticut Practice Book Sections 7-10 and 7-11 give a shorter
period of time, the case information will be displayed for the shorter period. Under the Federal Violence Against Women Act of 2005,
cases for relief from physical abuse, foreign protective orders, and motions that would be likely to publicly reveal the identity or
location of a protected party may not be displayed and may be available only at the courts.

Copyright © 2019, State of Connecticut Judicial Branch

https://efile.eservices.jud.ct.gov/CaseDetail/AttyCaseDetail.aspx? CRN=4233137 2/2
Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 7 of 18
SUMMONS - CIVIL STATE OF CONNECTICUT

JD-CV-1 Rev. 10-15

C'G.S. §§ 51-346, 51-347, 51-349, 51-350, 52-45a, SUPERIOR COURT

52-48, 52-259, P.B. §§ 3-1 through 3-21, 8-1, 10-13
See other side for instructions

Ol "x" i aeiete saa or property in demand, not including interest and
costs is less than $2,500.

"X" if amount, legal interest or property in demand, not including interest and
[x] costs is $2,500 or more.

C] "X" if claiming other relief in addition to or in lieu of money or damages.

www, jud.ct.gov

 

TO: Any proper officer, BY AUTHORITY OF THE STATE OF CONNECTICUT, you are hereby commanded to make due and legal service of

this Summons and attached Complaint.

 

 

 

Address of court clerk where writ and other papers shall be filed (Number, street, town and zip code) | Telephone number of clerk Return Date (Must be a Tuesday}
(C.G.S. §§ 51-346, 51-350) (with area code)
i i . JULY 2 ,2019
1061 Main Street, Bridgeport, CT 06604 (203 )579-6527 JULY ep —— er Se
[x] Judicial District GA. At (Town in which wiit is returnable} (C.G.S. §§ 51-346, 51-349) Case type code (See list on page 2)
[~] Housing Session O Number. Bridgeport Major; T Minor: 03

 

 

For the Plaintiff(s) please enter the appearance of:

 

Name and address of attorney, law firm or plaintiff if self-represented (Number, street, town and zip code) Juris number (to be entered by attomey only)
Michael J. Rosnick; Miller, Rosnick, D'Amico, August & Butler, 1087 Broad St, Bridgeport, CT 06604 038116

 

 

Telephone number (with area code} Signature of Plaintiff (if self-represented)

(203 ) 334-0191

 

 

The attorney or law firm appearing for the plaintiff, or the plaintiff if
self-represented, agrees to accept papers (service) electronically in CE] Yes [x] No
this case under Section 10-13 of the Connecticut Practice Book.

 

Email address for delivery of papers under Section 10-13 (if agreed to)

 

 

 

 

 

 

 

 

 

 

Number of Plaintiffs: 4 Number of Defendants: 1 [_] Form JD-CV-2 attached for additional parties
Parties Name (Last, First, Middle Initial) and Address of Each party (Number; Street; P.O. Box; Town; State; Zip; Country, if nat USA)
First Name: BROWN, LATASHA a
Plaintiff Address: 3 Rock Ridge Circle, Bridgeport, CT 06606
Additional Name: P-02
Plaintiff Address:
First Name: HOME DEPOT, U.S.A., INC. D-01
Defendant | Address: c/o Agent for Service: Corporation Service Company, 50 Weston Street, Hartford, CT 06120-1537
Additional Name: D-02
Defendant | Address:
Additional Name: D-03
Defendant | Address:
Additional Name: D-04

Defendant Address:

 

 

 

Notice to Each Defendant

4. YOU ARE BEING SUED. This paper is a Summons in a lawsuit. The complaint attached to these papers states the claims that each plaintiff is making

against you in this lawsuit.

2. To be notified of further proceedings, you or your attorney must file a form called an “Appearance” with the clerk of the above-named Court at the above

Court address on or before the second day after the above Return Date. The Return Date is not a hearing date. You do not have to come to court on the

Return Date unless you receive a separate notice telling you to come to court.

3. If you or your attorney do not file a written "Appearance" form on time, a judgment may be entered against you by default. The “Appearance” form may be

obtained at the Court address above or at www,jud.ctgov under "Court Forms."

4, If you believe that you have insurance that may cover the claim that is being made against you in this lawsuit, you should immediately contact your
insurance representative. Other action you may have to take is described in the Connecticut Practice Book which may be found in a superior court law

library or on-line at wwwjud.ct.gov under “Court Rules."

5, If you have questions about the Summons and Complaint, you should talk to an attorney quickly. The Clerk of Court is not allowed to give advice on

 

legal questions. wf
Signed (Sign and "X” proper box) = | Commissioner of the | Name of Person Signing at Left Date signed
“ Superior Court .
71 ean Clerk Michael J. Rosnick 05/28/2019

 

 

 

 

If this Summons is signed by a Clerk:

a. The signing has been done so that the Plaintiff(s) will not be denied access to the courts.

b. It is the responsibility of the Plaintiff(s) to see that service is made in the manner provided by law.

c. The Clerk is not permitted to give any legal advice in connection with any lawsuit.

d. The Clerk signing this Summons at the request of the Plaintiff(s) is not responsible in any way for any errors or omissions
in the Summons, any allegations contained in the Complaint, or the service of the Summons or Complaint.

For Court Use Only

 

File Date

 

I certify [have read and | Signed (Sei-Represented Plaintiff) Date
understand the above:

 

 

 

Docket Number

 

(Page 1 of 2)

 

 
Instructions Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 8 of 18

1. Type or print legibly; sign summons.

2. Prepare or photocopy a summons for each defendant.

3. Attach the original summons to the original complaint, and attach a copy of the summons to each copy of the complaint. Also,
if there are more than 2 plaintiffs or more than 4 defendants prepare form JD-CV-2 and attach it to the original and all copies
of the complaint.

4. After service has been made by a proper officer, file original papers and officer's return with the clerk of court.

5. Do not use this form for the following actions:

 

(a) Family matters (for example divorce, child (d) Probate appeals.
support, custody, paternity, and visitation (e) Administrative appeals.
matters). (9 Proceedings pertaining to arbitration.
(b) Summary process actions. (g) Any actions or proceedings in which an attachment,
(c) Applications for change of name. garnishment or replevy is sought.
ADA NOTICE

The Judicial Branch of the State of Connecticut complies with the Americans with
Disabilities Act (ADA). If you need a reasonable accommodation in accordance with the
ADA, contact a court clerk or an ADA contact person listed at www.jud.ct.gov/ADA.

 

 

 

 

 

 

 

 

 

 

Case Type Codes
Major Description Major Minor Description Major Description Halo Minor Description
Contracts C00 | Construction - All other Torts (Other than| 702 | Defective Premises - Private - Snow or Ice
C10 | Construction - State and Local Vehicular) T03 | Defective Premises - Private - Other
C20 | Insurance Policy T11 Defective Premises - Public - Snow or ice
C30 | Specific Performance T12 Defective Premises - Public - Other
C40 | Collections T20 Products Liability - Other than Vehicular
Cs0 | Allother T28 Malpractice - Medical
Eminent Domain | £00 | State Highway Condemnation 129 | Malpractice - Legal
E10 | Redevelopment Condemnation T30 | Malpractice - All other
E20 | Other State or Municipal Agencies T40 | Assault and Battery
£30 | Public Utilities & Gas Transmission Companies T50 | Defamation
E90 | Allother T61 | Animals - Dog
T69 | Animals - Other
Miscellaneous M00 | Injunction T70 | False Arrest
M10 | Receivership T71 Fire Damage
M20 | Mandamus T90 All other
M30 | Habeas Corpus (extradition, release from Penal Vehicular Torts V01 | Motor Vehicles* - Driver and/or Passenger(s) vs.
Institution) Driver(s)
M40 | Arbitration V04 | Motor Vehicles” - Pedestrian vs, Driver
M50 | Declaratory Judgment V05 | Motor Vehicles” - Property Damage onty
M63 | Bar Disciptine v.06 | Motor Vehicle - Products Liability Including Warranty
M66 | Department of Labor Unemployment Compensation vo9 | Motor Vehicle’ - All ather
Enforcement
M68 | Bar Discipline - Inactive Status ite oa
M70 | Municipal Ordinance and Regulation Enforcement Ver pakuanes
‘ V30 | Railroads
Meo Foroign Civil Judgments - C.G.S. 52-604 & C.G.S. v40 | Snowmobiles
Ms3__| Small Claims Transfer to Regular Docket V80 | All other
M84 _ | Foreign Protective Order "Motor Vehicles include cars, trucks, motorcycles,
and motor scooters.
M90 | All other
Property P00 | Foreclosure
P10 | Partition Wills, Estates W10 | Construction of Wills and Trusts
P20 | Quiet Titte/Discharge of Mortgage or Lien and Trusts woo | All other
P30 Asset Forfeiture
P90 | Allother

 

 

 

 

 

 

 

JD-CV-1 Rev. 10-15 (Back/Page 2)
(Page 2 of 2)
LAW OFFICES
MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, P.C.
1067 BROAD STREST
IRIDGEPORT, CT 08604-4262

(208) 294-0191

JURIG @ 3aTt8

Case 3:19-CvdeO052-VAB Document1 Filed 07/@@{19 Page 9 of 18

RET.: 1ST TUESDAY JULY 2019 : SUPERIOR COURT

LATASHA BROWN ; J.D. OF FAIRFIELD

VS. ; AT BRIDGEPORT

HOME DEPOT U.S.A., INC. : MAY 28, 2019
COMPLAINT

FIRST COUNT:

 

1. At all relevant times herein, the Plaintiff, LATASHA BROWN, was a patron of
the Defendant, HOME DEPOT U.S.A., INC., at its store located at 656 Reservoir Avenue
in Bridgeport, Connecticut.

2. At all times hereinafter mentioned, the Defendant, HOME DEPOT U.S.A.
INC., was a corporation organized and existing under the laws of the State of Delaware,
duly authorized to transact business in the State of Connecticut.

3. On or about December 19, 2017, and for some time prior thereto, the
Defendant owned, operated, managed, leased, maintained and/or controlled a business
— as The Home Depot #6213, located on the premises at 656 Reservoir Avenue,
Bridgeport, Connecticut

4. At all relevant times herein, the Defendant invited members of the public,

including customers such as the Plaintiff, to enter upon the premises.

 

 

 
LAW OFFICES
MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, P.C.
1087 BROAD STREET
SRIDGEPORT, CT 06004-4262

 

(203) 334-C101

JSURIS @ 38115

Case 3:19-cv-4"052-VAB Document1 Filed 07/08M9 Page 10 of 18

5. The interior entrance at the store at that time, and for a long time prior
thereto, were unsafe, defective and dangerous in that there was a puddle of water, or
some other slippery substance on the floor.

6. The Defendant had, or should have had, notice and knowledge of the
condition of said area but neglected to remedy said unsafe, dangerous and defective
condition.

7. On or about December 19, 2017 at approximately 10:55 a.m., the Plaintiff,
LATASHA BROWN, was lawfully upon the premises as a business invitee, when she was
caused to slip and fall due to said puddle inside of the Defendant's store, causing the
Plaintiff to suffer the injuries and damages set forth herein.

8. The injuries and damages suffered by the Plaintiff, LATASHA BROWN,
were a result of the negligence and carelessness of the Defendant, acting through and/or
its agents, servants and/or employees, in one or more of the following manners:

a. in that the Defendant knew, or in the exercise of due care should
have known, that puddle existed and was unsafe, dangerous and defective condition,
and failed to take reasonable precautions to remedy said condition;

b. in that the Defendant, for more than a reasonable time, permitted
said puddle and/or slippery substance to be in, and remain in, said interior entrance,

even though it knew, or should have known that it created an unsafe, dangerous and

 

 

 
LAW OFFICES
MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, P.C.
1087 BROAD STREET
3RIDGEPORT, CT 06804-4262

(203) 334-0191

JSURIS 8 366

 

Case 3:19-cv-69852-VAB Document1 Filed 07/08M9 Page 11 of 18

defective condition, and yet failed to take reasonable precautions to remedy said
condition;

C. in that the Defendant failed to reasonably guard the Plaintiff from
danger of said unsafe, dangerous and defective condition, which it created, and/or
maintained, and/or permitted;

d. in that the Defendant allowed, permitted and/or took no steps to
prevent individuals, including the Plaintiff, lawfully shopping to walk near said unsafe,
dangerous and defective condition;

e. in that the Defendant failed to make a reasonable inspection of said
premises, which they owned and/or controlled;

f. in that the Defendant failed to give any warning to the Plaintiff of the
unsafe, dangerous and defective condition which existed in said interior entrance way;
g. in that the Defendant failed to properly and safely inspect and
maintain said store to prevent injuries like those suffered by the Plaintiff;

h. in that the Defendant failed to cordon off or otherwise barricade the
area around the unsafe condition so as to preclude its customers from being in said
area;

i. in that the Defendant failed to properly train, supervise and/or
oversee its employees with respect to preventing and correcting defective and

dangerous conditions such as water and other liquids on the floors;

 

 
LAW OFFICES
MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, PC.
1087 BROAD STREET
3RIDGEPORT, CT 06604-4262

(203) 934-0191

 

JURIS @ SBS

 

Case 3:19-cv-fommQ52-VAB Document1 Filed 07/O4@9 Page 12 of 18

j. in that the Defendant failed to warn its customers including the
Plaintiff that they were in danger of slippery conditions;

k. in that the Defendant failed to have policies and procedures to
ensure customers were protected; and,

I. in that the Defendant failed to act reasonably to prevent the
Plaintiffs injuries and damages.

9. As a result the Defendant's negligence and/or carelessness, the Plaintiff,
LATASHA BROWN, suffered, without limitation, the following serious, painful and
permanent injuries:

a. disc bulge at C3-4 and/or an aggravation of a dormant, asymptomatic
pre-existing condition;

b. foraminal narrowing at C6-7;

cor cervical radiculopathy;

d. a sprain/strain of the cervical spine;

e. reduced range of motion of the cervical spine;

f. disc bulges at L3-4, and L4-5 and/or an aggravation of a dormant,
asymptomatic pre-existing condition;

g. lumbar radiculopathy; |

h. a sprain/strain of the lumbar spine;

i. reduced range of motion of the lumbar spine;

j. thoracic sprain/strain;

 

 
Case 3:19-cv-@8Q52-VAB Document1 Filed 07/OaehO Page 13 of 18

k. right arm injury;

I. right arm numbness and tingling;

m. right wrist sprain;

n. right elbow injury;

oO. bilateral leg and foot injuries and pain;

p. bilateral leg numbness and tingling;

q. muscle spasms;

r. sleep disturbance;

s. headaches; and,

t. sprains, contusions and bruises of her head, body and limbs.

10. Asa further result thereof, the Plaintiff received a severe shock to her
nervous system, from all of which injuries and the effects thereof the Plaintiff has
suffered, and will suffer, great pain and mental anguish. She has been unable, and
never will be able to get about as a well person, and she has been and will be, deprived
of many of the usual pleasures, pursuits, diversions and recreations of life, and has had
to, and will have to, give up many physical pursuits.

11. Asa further result of the Defendant's negligence, the Plaintiff has incurred

expenses for medical care and attention and may continue to do so in the future.

LAW OFFICES
MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, P.C.
1087 GROAD STREET
IRIDGEPORT, CT 06804-4262 5

(203) 334-0101

 

JURIS # 3ane

 

 

 
LAW OFFICES
MILLEA, ROSNICK, D’AMICO,
AUGUST & BUTLER, PC.
1087 BROAD STREET
IRIDGEPORT, CT 08604-4262

 

(203) 334-G191

 

JURIS # 38116

 

Case 3:19-cv-@8052-VAB Document1 Filed 07/08/49 Page 14 of 18

WHEREFORE, the Plaintiff claims monetary damages within the jurisdiction of the

Court.

THE PLAINTIFF,

MICHAEL J. ROSNICK

MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, P.C.

1087 Broad Street

Bridgeport, CT 06604

Phone: (203) 334-0191

Fax: (203) 334-3463

Juris #038116

 

 

 
7/3/2019 Case 3:19-cv-01052-VAB DovnurteseguécesBilling-64103/19 Page 15 of 18

   
    

State of Connecticut Judicial Branch

uperior Court E-Filing

  

Attorney/Firm: CAROLINE BOUSCAREN LAPISH (429909) — "E-Mail: clapish@apslaw.com Logout
© FBT-CV19-6086789-S § BROWN, LATASHA v. HOME DEPOT, U.S.A., INC.

Prefix: FB5 Case Type: T03 File Date: 06/06/2019 Return Date: 07/02/2019

Hide Instructions You have successfully e-filed!

Instructions: Information about this filing is provided on this page, including the date and time of this transaction and the filing date.

Please select the Print button to print a copy of this Confirmation. Then, select the Return to Superior Court E-Filing Menu if you wish
to do additional e-filing or Logout if you are finished filing.

 

 

Print

Confirmation of E-filed Transaction (print this page for your records)
Docket Number: FBT-CV-XX-XXXXXXX-S
Case Name: BROWN, LATASHA v. HOME DEPOT, U.S.A., INC.
Type of Transaction: Appearance
Date Filed: Jul 03 2019
Appearance by: 429909 CAROLINE BOUSCAREN LAPISH
Appearance for this Party(ies)
Party # Party Name
D-01 HOME DEPOT, U.S.A., INC.
Document Filed: JD-CL-12 Appearance
Date and Time of Transaction: Jul 03 2019 11:06:53 AM

 

 

 

Return to Civil / Family Menu

 

Copyright © 2019, State of Connecticut Judicial Branch

https://efile.eservices.jud.ct.gov/appearance/ConfirmationOfEFiling .aspx?crn=4233137 &uid=246329525 1/1
Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 16 of 18

Pate aes STATE OF CONNECTICUT Instructions — See Back/Page 2
P.B. §§ 3-1 thru 3-6, 3-8, 10-13, 254-2 SUPERIOR COURT

www.jud.ct.gov

Notice To Self-Represented Parties
A self-represented party is a person who represents himself or herself. If you are a self-
represented party and you filed an appearance before and you have since changed your address,

 

 

you must let the court and all attorneys and self-represented parties of record know that you have Return date
changed your address by checking the box below: Jul-02-2019
[_]| / am filing this appearance to let the court and all attorneys and self-represented Docket number
parties of record know that | have changed my address. My new address is below. FBT-CV-XX-XXXXXXX-S

 

 

Name of case (Full name of Plaintiff vs. Full name of Defendant)
BROWN, LATASHA v. HOME DEPOT, U.S.A., INC.
[ | [ | | | Address of Court (Number, street, town and zip code)
wedicial Housel jonas \eeeg apie 1061 MAIN STREET BRIDGEPORT, CT 06604

District Session Claims Area number
Scheduled Court date (Criminal/Motor Vehicle Matters)

 

 

Please Enter the Appearance of

Name of self-represented party (See "Notice to Self-Represented Parties" at top), or name of official, firm, professional corporation, or individual} Juris number of attorney or firm
attorney

 

 

 

 

 

CAROLINE BOUSCAREN LAPISH 429909

Mailing Address (Number, street) (Notice to attorneys and law firms - The address to which papers will be mailed from the | Post office box Telephone number (Area code first)
court is the one registered or affiliated with your juris number. That address cannot be changed in this form.)

175 FEDERAL ST #1000 6174820600

City/town State Zip code Fax number (Area code first) | E-mail address

BOSTON MA 02110 617-482-0604 clapish@apslaw.com

 

 

 

 

 

in the case named above for: ("x one of the following parties; if this is a Family Matters case, also indicate the scope of your appearance)
[_] The Plaintiff (includes the person suing another person).
[_] All Plaintiffs.
[_] The following Plaintiff(s) only:
[x] The Defendant (includes the person being sued or charged with a crime).

[_] The Defendant for the purpose of the bail hearing only (in criminal and motor vehicle cases only).
[_] All Defendants.

[_] The following Defendant(s) only:
[_] Other (Specify):
[_] This is a Family Matters case and my appearance is for: ("x” one or both)
[| matters in the Family Division of the Superior Court [_] Title IV-D Child Support matters
Note: If other counsel or a self-represented party has already filed an appearance for the party or parties "x'd" above, put
an "x" in box 1 or 2 below:

1. [_] This appearance is in place of the appearance of the following attorney,
firm or self-represented party on file (P.B. Sec. 3-8):

 

 

 

 

. _- us ; (Name and Juris Number)
2. [_] This appearance is in addition to an appearance already on file.

| agree to accept papers (service) electronically in this case under Practice Book Section 10-13 [_] Yes No

 

 

 

 

Signed (Individual attorney or self-represented party) Name of person signing at left (Print or type) Date signed

P 429909 CAROLINE BOUSCAREN LAPISH Jul 03 2019
Certification

| certify that a copy of this document was mailed or delivered electronically or non-electronically on (date) Jul 03 2019 to all attorneys

and self-represented parties of record and that written consent for electronic delivery was received from all attorneys and self-represented
parties receiving electronic delivery.
Name and address of each party and attorney that copy was mailed or delivered to* For Court Use Only

MILLER ROSNICK D'AMICO AUGUST & BUTLER P - 1087 BROAD STREET/BRIDGEPORT, CT 06604

 

 

Signed (Signature of filer) Print or type name of person signing Date signed Telephone number

P 429909 CAROLINE BOUSCAREN LAPISH| Jul 03 2019 617-482-0600

*If necessary, attach an additional sheet or sheets with the name of each party and the address which the copy was mailed or delivered to.

 

 

 

 

 

 

 

 
LAW OFFICES
MILLER, ROSNICK, D’AMICO,
AUGUST & BUTLER, F.C.
1087 BROAD STREET
BRIDGEPORT, CT 06804-4262

 

(203) 334-0191

 

JURIS § 3816

 

Case 3:19-cv-@f052-VAB Document1 Filed 07/0879 Page 17 of 18

RET.: 1ST TUESDAY JULY 2019 : SUPERIOR COURT
LATASHA BROWN J.D. OF FAIRFIELD
VS. ; AT BRIDGEPORT
HOME DEPOT U.S.A., INC. ; MAY 28, 2019

AMOUNT IN DEMAND
The amount, legal interest or property in demand is FIFTEEN THOUSAND AND

N0/100 ($15,000.00) DOLLARS or more exclusive of interest and costs.

THE PLAINTIFF,

By aa

MICHAEL J. ROSNICK

MILLER, ROSNICK, D'AMICO,
AUGUST & BUTLER, P.C.

1087 Broad Street

Bridgeport, CT 06604

Phone: (203) 334-0191

Fax: (203) 334-3463

Juris #038116

 

 

 
Case 3:19-cv-01052-VAB Document1 Filed 07/03/19 Page 18 of 18

STATE OF CONNECTICUT}
} HARTFORD, JUNE 3, 2019
COUNTY OF HARTFORD }
Then and by virtue hereof, on the 3 day of June, 2019, and by the direction
of the plaintiffs attorney, I made due and legal service on the within named defendant,
HOME DEPOT, U.S.A., INC., by leaving a verified true and attested copy of the
within original Writ, Summons, Complaint and Amount In Demand, with and in the

hands of Michele Taylor, Special Assistant for Corporation Service Company, Agent

For Service for said defendant, at 50 Weston Street, in the City of Hartford.

The within is the original Writ, Summons, Complaint and Amount In Demand,
with my doings hereon endorsed.

 

FEES: ATTEST:

Pages $ 9.00

Endorsements 1.60 Vises Inet

Service 40.00 NANCY F. MARINO

Travel 5,75 STATE MARSHAL
HARTFORD COUNTY

Total $ 56.35
